     Case: 1:21-cv-01956 Document #: 52 Filed: 05/09/22 Page 1 of 1 PageID #:297

                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Desiree Hollis
                                   Plaintiff,
v.                                                    Case No.: 1:21−cv−01956
                                                      Honorable Thomas M. Durkin
The City of Chicago, et al.
                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, May 9, 2022:


        MINUTE entry before the Honorable Thomas M. Durkin: Unopposed motion to
file exhibits under seal [51] is granted. Mailed notice. (ecw, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
